
PER CURIAM.
By petition for a writ of certiorari we have for review an order of the Florida Industrial Commission bearing date of April 22, 1966.
We find that oral argument would serve no useful purpose and it is therefore dispensed with pursuant to Florida Appellate Rules, rule 3.10, subd. e, 31 F.S.A.
Our consideration of the petition, the record and briefs leads us to conclude that there has been no deviation from the essential requirements of law.
The petition is therefore denied.
It is further ordered that the petitioner’s petition for allowance of attorneys’ fees, be and the same is hereby denied.
THORNAL, C. J., and THOMAS, ROBERTS, CALDWELL and ERVIN, JJ-, concur.
